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EXHIBIT “A”
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Commonwealth of Pennsylvania - Short Certificate
County of Schuylkill

I, Theresa Santai Gaffney, Register for the Probate of
Wills and Granting Letters of Administration in and for Schuylkill
County, do hereby certify that on November 15, 2023,
LETTERS OF ADMINISTRATION in common form

were granted by the Register of said County, on the estate of

EDWARD A. MATZURA, AKA: EDWARD ALOYSIUS
MATZURA late of MINERSVILLE BOROUGH insaid
county, deceased, to VIRGINIA RICHTER Administrator

(rix) and that same has not since been revoked.

IN TESTIMONY WHEREOF, [ have here unto set my hand and affixed the seal of said office
at SCHUYLKILL, PENNSYLVANIA, on November 15, 2023.
File No: 5423-1075

Date of Death : December 05, 2022

44 7

Register of ills

NOT VALID WITHOUT OFFICIAL SIGNATURE AND SEAL OF OFFICE
